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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                              :      CHAPTER 7
                                                    :
DAVID L. SMITH, JR.,                                :      CASE NO. 17-67324-LRC
                                                    :
         Debtor.                                    :
                                                    :

                      TRUSTEE'S REJECTION OF APPOINTMENT


         Comes S. Gregory Hays, Interim Trustee for the above-referenced estate and respectfully
rejects this appointment because of a potential conflict of interest.


         Dated: September 3, 2021.


                                     Respectfully submitted,

                                     /s/ S. Gregory Hays
                                     S. Gregory Hays
                                     Chapter 7 Trustee

Hays Financial Consulting, LLC
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